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10                        UNITED STATES DISTRICT COURT
11                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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13     NOLAN LEWIS,                          Case No. 2:15-cv-08756 MCS (Ex)
14                       Plaintiff,          [PROPOSED] ORDER
                                             DISMISSING ACTION WITH
15                       v.                  PREJUDICE
16     WILLIAM MOSSBROOKS, et al.,
17                       Defendants.
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